USCA4 Appeal: 23-1854    Doc: 38           Filed: 02/05/2024       Pg: 1 of 1



                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT
                          1100 East Main Street, Suite 501, Richmond, Virginia 23219

                                            February 5, 2024

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                         RESPONSE REQUESTED - SIMILAR CASES
                             ____________________________

        No. 23-1854, D.C. v. Fairfax County School Board
                     1:22-cv-01070-MSN-IDD

        TO:    Vivian Chaplick
               Fairfax County School Board
               D.C.
               Lisa Coons
               Trevor Chaplick
               Virginia Department of Education
               James Bingham
               M.B.
               Sheila Bingham
               Hear Our Voices, Inc.
               Michelle Reid

        RESPONSE DUE: 02/08/2024

        Response is required to the notice requesting information regarding similar cases
        on or before 02/08/2024. Please use the following form to submit response:
        Response - Similar Cases, using the event: RESPONSE/ANSWER (to Similar
        Case notice).

        Kirsten Hancock, Deputy Clerk
        804-916-2704
